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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

www.fisb.uscourts.gov

Inte: TURRICE Symatte Case No. bot EED- SES) To

Chapter

 

Debtor /

DEBTOR'S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an amendment
to the debtor's lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). | certify that:

[] The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being
added). | have:
1. remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
2. provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in
electronic text format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;
3. provided notice to affected parties, including service of a copy of this notice and
a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certifi cate of
service in compliance with the court [see Local Rule 2002-1(F)];
filed an amended schedule(s) and summary of schedules; and
filed a motion to reopen accompanied by the required filing fee (if adding creditors pursuant to Local Rule
5010-1(B)). :

ah

[ ] The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each |
creditor being deleted). | have: me
1. remitted the required fee; "
2. _ provided notice to affected parties and filed a certificate of service in compliance with the court [see
Local Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules.

 

[ ] The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have:
1. _ provided notice to affected parties, including service of a copy of this notice and a copy of
the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service
in compliance with the court [see Local Rule 2002-1(F)]; and
2. filed an amended schedule(s) or other paper.

[ ] The paper filed corrects schedule D or E/F amount(s) or classification(s). | have:
1. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules.

(q None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice to
affected parties. It o does o does not require the filing of an amended schedule and summary of schedules.

1 also certify that, if filing amended schedules, Bankruptcy Form 106 “Declaration About an Individual Debtor's Schedules”
(signed by both debtors) or Bankruptcy Form 202 , “Declaration Under Penalty of Perjury for Non-individual Debtors’ has
been filed as required by Local Rules 1007-2(B), 1009-1(A)(2) and (D)(1), or 1019-1(B).

 

 

 

 

 

 

Attorney for Debtor ter B€btor, if pro se) Joint Debtor (if applicable)
Uh

Print Name Address

Florida Bar Number Phone Number

LF-4 (rev. 12/01/15)
 

 

 

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Debtor 1 _ Wt Vi -

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Sculbaed District of hod
(State)
Case number LE-LSEV/ LL] Check if this is an
(if known) ”

 

 

 

amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out aif of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

ia Summarize Your Assets

 

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

ta. Copy line 55, Total real estate, from Schedule A/B...c.ccccecccccsscssessssssssscssessessvsssassueessuscssssnecsssuseesaseesssueeesaneeessvessesaeesessess $ dy 900, U0 - 90
1b. Copy line 62, Total personal property, from Schedule A/B uu... cece eet c cc eeneeaeeceeeeeeenneseseceaecnaueseseseatenaeseseneatenseee $ 2dg f Od » OV

1c. Copy line 63, Total of all property on Schedule A/B

Eo Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) g, y) 0 | O
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............. $ 0-0
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) ay
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F oo... ecceecece es eeeerteetates $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..........0... cece cette eee + 5 xr

Your total liabilities $ ALM, 000-9

 

 

 

 

Summarize Your Income and Expenses

4. Schedule |: Your income (Official Form 1061)

Copy your combined monthly income from line 12 of Schedule 1.0... ccc eee een neen tense renee crete rere peenenrecnerieentnel $ WW 00

5. Schedule J: Your Expenses (Official Form 106J) . 4 7 Ww
. 4 ¢
Copy your monthly expenses from line 22c of Schedule So... eee ccc cece tec ceeceneeenseecaeeceetescacsesneaensaeseseveeesaesesgeneeenees $

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
 

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, . e
Debtor 1 Case number (i known)
First Name Middle Name Last Name

By Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

a Yes

 

7. What kind of debt do you have?

w Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(3 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official :
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. 3 1000, OX )

 

 

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ OG

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s FP
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) s Pf

9d. Student loans. (Copy line 6f.) 5

9e. Obligations arising out of a separation agreement or divorce that you did not report as $
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ a

9g. Total. Add lines 9a through 9f. $ g

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
 

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Fill in this information to identify your case and this filing:

Debtor 1 Maur, CE Swauedle

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Su ord District of Lhynh
(State)
Case number /3 -15$ } [ LYLE

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

QO) Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

EERE ve serine Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LI No. Go to Part 2.
Yes. Where is the property?
What is the property? Check all that apply.

14. Ban WE No QC) Single-family home

CY Duplex or multi-unit buildi
Street address, if available, or other description P . ng
(3 Condominium or cooperative

(2 Manufactured or mobile home

 

 

 

(3 Land
. . C2 Invest nt pi
Myiani fhe. 33/60 Omene
City State ZIP Code
C2 other

 

Who has an interest in the property? Check one.

Ae! , Oxde C2 Debtor 1 only

County CY Debtor 2 only
CY Debtor 1 and Debtor 2 only
() At least one of the debtors and another

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ S07; 000. 00s

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

 

C) Check if this is community property (
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.

otf Q Single-family home
1.2. Z La 90 SH) Jt fo Duplex or multi-unit building

Street addfess, if available, or other description - ;
{J Condominium or cooperative

() Manufactured or mobile home

 

 

(2 Land
- , (2 investment property
Mami ¢L. 23/2
Cty State ZIP Code O one
ther

 

Who has an interest in the property? Check one.
‘Y 4 . LIK ip LI) Debtor 1 only
County C2 Debtor 2 only
CQ Debtor 1 and Debtor 2 only
(C} At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured daims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 6 O, 000: 00s

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CD Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Case 18-15891-LMI AeA SAEss 9610/39, aoe AY SCHEd/e
cave noe men LE LESLL

 

Debtor 1 ¢ Ze
First Name Last
/ Oe eae, Property? check au at spp. Do not deduct sacured claims or exernptions. Put
, ) the amount of any secured claims on Schedule D:
14 CLAN So Kiet Single-family home Creditors Who Have Claims Secured by Property.
‘address, if available, or other description CD duplex or multi-unit building
(2) Condominium or cooperative Current value of the Current value of the

Om 4 of home entire property? portion you own?
O tana s LL0,000.00 Dele 2 $e
syn " (2 investment property .
ity State ZIP G O timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by
O other the entireties, or a life estate), if known.

, - Whp has an interest in the property? Check one.
MED Lye Debtor 1 only

CO Debtor 2 only
(2 Debtor 1 and Debtor 2 only (3 Check if this is community property

(Q At least one of the debtors and another (see instructions)

Other information you wish to add about this Item, such as local
property identification number-

 

 

 

 

 

2. Add the dollar vatue of the portion you own for ail of your entries from Part 1, including any entries for pages $ 1 900, 009 .C0
you have attached for Part 1. Write that number here. .0........0.ccssscsccessssescssesssseeecnecessseesssesssssecssscessneceenseseascened > oe

 

 

 

 

 

 

 
Case 18-15891-LMI

Debtor 1 CECE
‘Middte

Fast Name

. L917 WE UOY Ref

Street address, if available, or other description

 

 

 

MNiani LL BUY
City State 2'P Coda
VOIAM Dede

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 4. Write that number here. 0.0.0.0... cececccccsecscccesoneensecucecscesnecscseevereveuensersceaaravasers >

Describe Your Vehicles

 

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Case number (ir onr0, SE-SECHW

What is the property? Check ai that apply.
{i Single-family home

Q Duplex or multitunit building

(2 Condominium or cooperative

(] Manufactured or mobile home

C3 Lend

C2 investment property

(2 timeshare

C2 other

 

Who has an interest in the property? Check one.
EA Debtor 1 only

C2 Debtor 2 only

(2 Debtor 4 and Debtor 2 only

C2 At teast one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
slaeseel or

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as focal

property identification number:

 

 

 

 

 

 

 

 

 

 

 

3.2. Make:
Model:
Year:
Approximate mileage:
Other information:

 

 

 

Official Form 106A/8

 

If you own or have more than one, describe here:

~

3. Caps, vans, trucks, tractors, sport utility vehicles, motorcycles
No
C2 Yes
3.1. Make: Who has an Interest in the property? Check one.
Model: (2 Debtor 4 only
¥ C2 Debtor 2 onty
“er Q) Debtor 1 and Debtor 2 only
Approximate mileage: U) At least one of the debtors and ancther
Other information:

(2 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CJ debtor 1 only

(J Debtor 2 only

(2 Debtor 1 and Debtor 2 only

Cl At teast one of the debtors and another

() Check if this is community property (see
instructions)

Schedule A/B: Property

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

sas

f

Do not deduct secured claims or examptions. Put
the amount of sny secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

entire property? portion you own?
s_ 7V, La $
{
43
page 2

 
 

Case 18-15891-LMI

Debtor 1 _ Mave
: . First Name Middle Name
3.3. Make: H

Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:

Year:

ah

Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

C) Debtor 1 only

CY Debtor 2 only

(C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CJ Debtor 4 only

C) Debtor 2 only

CY Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

C) check if this is community property (see
instructions)

Case number (if known),

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Sano oie

8 IS FILMA

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Wh

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

nip,
f

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

C) No
CQ) Yes

WV

4.1, Make:
Model:
Year:

Other information:

 

 

 

 

\f you own or have more than one, list here:

4.2, Make:
Model:

Year:

 

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for ail of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
CQ) Debtor 1 only

C) Debtor 2 only

(CJ Debtor 1 and Debtor 2 only

(J) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CY Debtor 1 only

CJ Debtor 2 only

(2) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

CJ Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

AYA

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

; N/A ;

 

 

 

 

page 3
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Case number (i known) l £ “ 45 3 DL

 

Debtor 1

Describe Your Personal and Household items

 

Current value of the
portion you own?

Do not deduct secured daims
or exemptions.

Do you own or have any legal or equitable interest in any of the following items?

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

QO)
Or ves. beserive. tees B | — Hf ) . di % 5 A Uy, $ L000 ' 20
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

ae
Yes. Describe.........

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

Os ont nl DT 200.00
Yes. Describe......... _ + Dy ysting ¢ $ -

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

UO pro
Wes Describe......... YD, o / Tht le $ c O QO

10. Firearms
we Pistols, rifles, shotguns, ammunition, and related equipment
No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ca Yes. Describe. ........

 

 

7 §
lVOMe

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Q
ves. Describe veveeees Up i SH j 4, fy brady $ 1£00-00

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

ran Describe.......... LA) Afeff ‘'S $ eA / 707)

13. Non-farm animals
Examples: Dogs, cats, birds, horses

 

 

 

 

 

 

 

 

 

Erne Describe.......... JV y/ iB 5 YF

 

 

 

14. Any other personal and household items you“did not already list, including any health aids you did not list

Uno

C) Yes. Give specific

information............... JV /; # se .

15. Add the dollar value of all of your entries fromf#art 3, including any entries for pages you have attached $ 0 0 0
for Part 3. Write that mumber Mere ooo... ccc cco csscesscecsetecesessnecsssecsneessssssusscsssesesssstesessnsessnisessccassecsssesateesisearssensseestieeseeeceases >

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 4

 
 

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Debtor ' , First Name " = Name “ / Last ee Case number icown) f & LEED

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
of exemptions.

16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Wo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other simifar institutions. if you have multiple accounts with the same institution, list each.

CL} No

i Institution name:

17.1. Checking account: pf 4a $ le

17.2. Checking account: AM VA a 2

17.3. Savings account: ALA $ (A
17.4. Savings account: al A $ @Z
"F

17.5. Certificates of deposit: Mf 7A
e/a 5
17.7. Other financial account: Mf. $ { x

17.8. Other financial account:

“Mf
17.9. Other financial account N/p Al $ a

 

 

 

17.6. Other financial account:

 

 

 

18. Bonds, mutual funds, or publicly traded stocks
Ye Bond funds, investment accounts with brokerage firms, money market accounts
N

lo
i - Institution or issuer name:

nw [A 5
LWIA s_ FY
ALA s_@

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

UW No Name of entity: % of ownership:
CI) Yes. Give specific % $ aX

information about

MNEM. ee eceeeetees % $ Or
% $ ( y

 

 

Official Form 106A/B Schedule A/B: Property page 5

 
 

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Debtor 1 Case number (if known) 1X¥-L S 5 Bf

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments inciude personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
OQ] Yes. Give specific Issuer name: N | yf
information about ;

them. ........ wih tc
w]e sx

 

 

 

 

21. Retirement or pension accounts
re interests in RA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No

CI Yes. List each
account separately.. Type of account: Institution name:

401(k) or similar plan:

 

Pension plan:

math
} $
IRA: | $
| 5
[-
|
A

 

Retirement account:

Keogh:

 

Additional account:

Additional account: N if
+

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

 

 

 

0
hE  (- Institution name or individual:
Electric: ‘Vf, A $ Sf
Gas: , f $ Ox
Heating oil: #

 

Security deposit on rental unit: $ oS
Prepaid rent: f- $ ‘xy

Telephone:

_. | f- $ Ge
‘ented furniture: A $ Sf
Other: MY, WA $ GF

“i. (A contract for a periodic payment of money to you, either for life or for a number of years)

 

 

 

 

 

No
1 Issuer name and description: QO

 

 

Official Form 106A/B Schedule A/B: Property page 6
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Case number (i known) 1S -LS8R/

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

x §§ 530(b)(1), 529A(b), and 529(b)(1).
No

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
s_
a °
A —_
/ $

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

 

 

 

No
CL} Yes. Give specific
information about them. .. N 19 s__ fF

26. Patents, copyrights, trademarks, trade secrets, and other intellectual oroferty
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No

CL} Yes. Give specific

information about them. .. IV 10 s

7

 

 

 

 

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

wt No
CL} Yes. Give specific
information about them. .. fj Wa s

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

 

 

 

28. Tax refunds owed to you
No

LI} Yes. Give specific information Federal: $ 4)
about them, including whether ‘
you already filed the returns State: $ o
h b eneeeeeessenseeeesens
and the tax years A) 9 Local: $ oy

 

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No

C) Yes. Give specific information. .............
Alimony: $ G

Maintenance: $ b
Support: $ Q

Divorce settlement: $ sb
jf 17 Property setiiement: $
$
30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
of Social Security benefits; unpaid loans you made to someone else
No

L) Yes. Give specific information. ............... N Ip . ge
$

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 
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Debtor) _W once Syunnsedte Case number (i known) L 8 -/ bY G/

4
First Name Middle Name

31. Interests in insurance policies
ne Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
N

oO

CJ Yes. Name the insurance company

. vw Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

SS

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
a because someone has died.
No

LI Yes. Give specific information. ............. a

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
a Accidents, employment disputes, insurance claims, or rights to sue
Ni

jo
CJ Yes. Describe each Claim... ccc ao

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

an off claims
No

CQ Yes. Describe each claim... o

 

 

 

 

 

a assets you did not already list

 

 

 

 

No
C) Yes. Give specific information. .......... $ DP
36. Add the dolfar vaiue of ail of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber here ooo cccccccceessssesssssenuesevecsssessunevsnescusecnpessesesstsessneesanessautersrstsustacesssegguuesesessaneesseeees > ss

 

 

EEE veecrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. we own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
UL] Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned
No

 

 

 

39. Office equipment, furnishings, and supplies
ne Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
N

0

 

Official Form 106A/B Schedule A/B: Property page 8

 

UL] Yes. Describe.......
sO

] Yes. Describe....... . - . . $ ae
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 13 of 46
Debtor 1 _(Mav&ce Si movelle Case number (i known) [¥- LS% q/

First Name Middle Name Las§Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

WW No

C) Yes. Describe....... $ G

41. we
No : J
C) Yes. Describe... gs x4

42. interests in partnerships or joint ventures

No
CI Yes. Describe....... Name of entity:

 

 

 

 

 

 

% of ownership:

» §
% $

% $

 

 

43. Customer lists, mailing lists, or other compilations
No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

C) No

(3 Yes. Describe.........
sO

“Termes property you did not already list
No

 

 

 

 

LI) Yes. Give specific

 

 

 

 

 

 

 

information ......... sf
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ eal
for Part 5. Write that mumber Here ooo. eccccccsessccccssssesscsssseecasessessecnssnmesssssssuesssssstsesseessnissersstvapssstsunesessssuueasasnnereeestiuesecs >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

 

46. we own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
(3 Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
du Livestock, poultry, farm-raised fish
No

 

-

 

Official Form 106A/B Schedule A/B: Property page 9

 

 
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 14 of 46

Debtor 1 4 Case number (# known) / 8 =” / SY G/

 

 

 

 

‘irst Name Middle Name Last Name
48. nn growing or harvested
No
C) Yes. Give specific oO
information. ............ $
49. ae fishing equipment, implements, machinery, fixtures, and tools of trade
No

 

 

50. Farm and fishing supplies, chemicals, and feed

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

 

 

 

 

No
C) Yes. Give specific
information. ............ $ oY
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ Qo
for Part 6. Write that mumber Were oo ccc cece eessssss se sssssuesessescunessscosnmsceessnsscesatssessniissscessinessestssiesetssiietseesineeseeesnsneeeeeesa >

 

 

 

 

Describe Ali Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
xn Season tickets, country club membership
N

 

oO

OQ) Yes. Give specific
information. ............

 

 

 

 

54. Add the dollar vaiue of all of your entries from Part 7. Write that number here... sce eeceenneeeeeneetennees > s

 

 

 

List the Totals of Each Part of this Form

55. Part 1: Total real estate, Vim 2... ccc ccsssssssssesssnsessssecsstseccotsnecssssecesanesesusseesutassssecscasessssueeessusstusnessesteceesiasecsaseessaneesestuaeecnuseesee > $ GO? OE, W
56. Part 2: Total vehicles, line 5 5s

57. Part 3: Total personal and househoid items, line 15 $ 0.0

58. Part 4: Total financial assets, line 36 $ LB
59. Part 5: Total business-related property, line 45 $ OD

60. Part 6: Total farm- and fishing-related property, line 52 $ 2

61.Part 7: Total other property not listed, line 54 +s

 

62. Total personal property. Add fines 56 through 61. ..............  § 00 -¢ Copy personal property total 3 + $ 22,800. OV

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62.200... eee cceceeeecneeneceeteneesecesscaeesetasecsstseessetessseneesaeeate $ Bd £00, 10

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
 

 

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Fill in this information to identify your case:

Debtor 1 wi Au@ice

First Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
(State)
Case number f 3 ~L 6 5 ZL (3 Check if this is an

(If known) amended filing

Official Form 106C

Schedule C: The Property You Claim as Exempt 12115

 

Be as complete and accurate as possible. !f two maried people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

EERE tcontity the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

a are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value ofthe |§ Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief
description: a Os
; (3 100% of fair market value, up to
Line from
Schedule A/B: any applicable statutory limit
Brief
description: —_—______—_—— 3 Os
Line from (3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description, . ———————————-_ § Os$
; () 100% of fair market value, up to
Line from
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $155,675?
4. to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
No
Q) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

UY No
UO Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __

 
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 16 of 46

x

Debtor 1

Part 2: Additional Page

Brief description of the property and fine
on Schedule A/B that lists this property

FirsfName Middle Name Last Name

Case number (if known) LA- LSL9L

Current value of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

Copy the vaiue from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
Brief
description: $ Us
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market vaiue, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ Os
Line from C] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $, Os
Line from L) 100% of fair market value, up to
Schedule A/B:: ———— any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: ——_ any applicable statutory limit
Brief
description: $ Os
Line from C3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from ( 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $, Lis
Line from LI 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: 5 Os
Line from CI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CI 100% of fair market value, up to
Schedule A/B:: ——— any applicable statutory limit
Brief
description: $ Us
Line from O) 100% of fair market value, up to
Schedule AB: — any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt page __ of

 

 

 

 

 
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Fill in this information to identify your case:

Debtor 1 ynpotce. Middle Ni Syiitarvd

Last Name

   

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: Souttle ead District of Bloabla
(State)
Case number { §- [ 6 y V) oo.
L) Check if this is an

(if known)
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/45

Be as complete and accurate as possible. If two married peopie are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
(] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
(Cl) Yes. Fill in all of the information below.

 

List All Secured Claims
Column. A Column 8 Column. ¢

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral. Unsecured
for each claim. !f more than one creditor has a particular ciaim, list the other creditors in Part2. ho not deduct the that supports this - portion

 

 

As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim ffany
rh : gy, Describe the property that secures the claim: $ $ 209,400 -40 S$
OD ‘ ox n yp tel b Le ei, Sav aids fe Lo
Nohber Street ‘orth c Fronp Lrpunky

 

 

 

As of the date you fi le, the claim is: Check ali that apply.
Q Contingent

feiblte Mie f Zz Z a UES Wyo Ynliquidated
State ZIP Code Disputed

 

Who owes the debt? Check one. Nature of lien. Check ail that apply.
Debtor 1 only C) An agreement you made (such as mortgage or secured
O) debtor 2 only car loan)
() Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic's lien)
CO) Atleast one of the debtors and another CQ) Judgment lien from a lawsuit

C) Other (including a right to offset)
O) Check if this claim relates to a
community debt

-
Date debt was incurred Last 4 digits of account number 5 6. 5S GF

[2.2] Uy, ov. A C bith Git ( Describe the property that secures the claim: $ $ YH. ON .00 $
Créditor's Name
. fot YIBWY, f. earngt ry PlopL
mber Street sible Frat Propwely

As of the date you file, the : claint i is: Check all that apply.

Q Contingent
Sou Diego BL: BAH9-900 O spices
State ZIP Code Dovid

 

 

 

 

 

 

Who owes the debt? Check one. Nature of lien. Check all that apply.

Wetter 1 only Q) An agreement you made (such as mortgage or secured
Cd Debtor 2 only car loan)

O) Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)

O) Atieast one of the debtors and another (Judgment lien from a lawsuit

() Other (inciuding a right to offset)
() Check if this claim relates to a
community debt

Date d debt wa was incurred » cea Last: 4 } digits « of | account number ah g 3 ‘ /

Add the dollar value of your entries in Column A on this page. Write that number here:

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of_

 
  

Case 18-15891-LMI

Debtor 1 : Migut Gh Ss vamnvetle
First Name Middte Name Last Name

Doc 16 Filed 06/01/18 Page 18 of 46

Case number Coen SEEG/

 

Additional Page

by 2.4, and so forth.

After listing any entries on this page, number them beginning with 2.3, followed

Column A Column B
Amount of claim Value of collateral
Do not dediict the that supports this

value of collateral. claim

 

SGe f

Creditor’s Name

rab foc ttste | Kobe K Dawns
-L, pad #290 0+ [box 13008

La. 33 bA3

Describe the property that secures the claim: $

 

0
fal, wading cablage

 

 

Who owes the debt? Check one.
ebtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

C) Check if this claim relates to a
community debt

oS State ZIP Code

At least one of the debtors and another

Date debt was incurred 1006

As of the date you file, the claim is: Check all that apply.
Q Contingent
QO) unliquidated

Disputed

Nature of lien. Check ail that apply.

QO) An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's lien)

() Judgment lien from a lawsuit

U2 other (including a right to offset)

Last 4 digits of account number 4. £ a 3

s O00 IN.W) s__

Cojumn.C
Unsecured
portion

ff any

 

"WO: box 220692

Number Street

Describe the property that secures the claim: $

sd, 00.00 5

 

 

5S Qo owrt,

 

 

 

Who owes the debt? Check one.
C2 Debtor 4 only

C2 debtor 2 only

Q) Debtor 1 and Debtor 2 only

QC) Check if this claim relates to a
community debt

Cr State ZIP Code

At least one of the debtors and another

Date debt was incurred MO0F

As of the date you file, the claim is: Check all that apply.
C2 Contingent

QO) ynliquidated
W visputed
Nature of lien. Check all that apply.

CQ) An agreement you made (such as mortgage or secured
car foan)

Q Statutory lien (such as tax lien, mechanic’s lien)

Q) Judgment lien from a lawsuit

(2 Other (including a right to offset)

Last 4 digits of account number og 3 3 A

 

 

Creditors Name

Describe the property that secures the claim: $ $ $.

 

 

Number Street

 

 

 

 

 

Who owes the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only

 

O OOOO

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from ail pages.

Write that number here:

Official Form 106D

City State ZIP Code

At least one of the debtors and another

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

As of the date you file, the claim is: Check all that apply.
C2 Contingent

Q) Unliquidated

2 Disputed

Nature of lien. Check all that apply.

(An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)
Judgment tien from a lawsuit

Other (including a right to offset)

OOO

Last 4 digits of account number __

 

 

page of

 
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 19 of 46

Fill in this information to identify your case:

 

Debtor 1

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of

(State) () Check if this is an

Case number amended filing

(lf known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1.

 

Do any creditors have priority unsecured claims against you?

No. Go to Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CD Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each ciaim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
Total claim Priority Nonpriority
amount. amount
2.14
Last 4 digits ofaccountnumber iOS; $. $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
City Slate ZIP Code Q) Contingent
; Q) Unliquidated
Who incurred the debt? Check one. QO bisputea /f
C2 Debtor 1 only
QO) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Domestic support obligations
At least one of the debtors and another ©) Taxes and certain other debts you owe the government
CI Check if this claim is for a community debt (2 Claims for death or personal injury while you were
is the claim subject to offset? intoxicated
UO No O21 Other. Specify
QC) Yes
2.2 | Last 4 digits of accountnumber_ = = og $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Oo Contingent
City State ZIP Code QO) unliquidatea

Official Form 106E/F

Who incurred the debt? Check one.

Q) Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

©) Check if this claim is for a community debt

Is the claim subject to offset?
OQ) No
OQ) Yes

Q Disputed

Type of PRIORITY unsecured claim:
QO) Domestic support obligations
Q) Taxes and certain other debts you owe the government

Q] claims for death or personal injury while you were
intoxicated

Q) other. Specify

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page lof

 
 

 

Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 20 of 46

Debtor 1

 

First Name Middle Name Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

ke

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

QC) Debtor 2 only

QO) Debtor 1 and Debtor 2 only

QO) Atleast one of the debtors and another

Total claim
Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

QO Contingent
OQ unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

 

 

 

 

 

 

 

 

CJ Student loans

QO Check if this claim is fora community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C2 Debts to pension or profit-sharing plans, and other similar debts
OQ) No Cl other. Specify
OC) Yes
4.2 Last 4 digits of account number $

Nonpriority Creditors Name When was the debt incurred?
Number Street

As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
Who incurred the debt? Check one. Q) unliquidated
QO) Debtor 1 only Q Disputed
QO) Debtor 2 only .
O cebtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C) Atleast one of the debtors and another C) Student toans

ae co. . QO Obligations arising out of a separation agreement or divorce
QO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? OQ Debts to pension or profit-sharing plans, and other similar debts
O No OC) Other. Specify
OC) Yes
4.3

 

Nonpriority Creditor's Name

 

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

Cl debtor 4 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
OQ) No
C) Yes

 

Official Form 106E/F

Last 4 digits of account number ___

a $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C) Contingent
) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
C) Other. Specify

 

 

Schedule E/F: Creditors Who Have Unsecured Claims page __ of
Case 1 Sutafe LMI, Doc 16 Filed 06/01/18 Page 21 of 46

 

Debtor 1 (Ligue
irst Name Middle Name HW Lh afl

Case number (i known) /&- [0% Ws

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim

 

 

 

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

QO) Debtor 1 only

O) Debtor 2 only

(] Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

OQ) No
QO) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

—_—_o $
Nonpriority Creditors Name
When was the debt incurred?
Numb Street
amver 3 As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
. OQ Unliquidated
Who incurred the debt? Check one. OQ disputed
QO] Debtor 4 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only © Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as prionty claims ar
OQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? O other. Specify
OQ) No
O Yes
| | Last 4 digits of account number _ $
Nonpriority Creditors Name
When was the debt incurred?
Number Street .
um As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO) Contingent
; QO Unliquidated
Who incutred the debt? Check one. C1 Disputed
QO) Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only DO Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as prionty claims
O Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? O other. Specify
OQ) No
QO Yes
L_| _ s
Last 4 digits of account number 8
Nonprionty Creditor's Name
When was the debt incurred?
Number Street
umper 3 As of the date you file, the claim is: Check ai! that apply.
City State ZIP Code QO) Contingent

QO) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O) Debts to pension or profit-sharing pians, and other similar debts

C) Other. Specify

 

 
Debtor 1

First Name

Case ne
\

Mrokice

Middie Name /

891-LMI

lame 2

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Case number (i known) VA S. fi Je oe G/

Ee List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 4 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional! persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street (3 Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one). O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Streat ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one). GQ) Part 1: Creditors with Priority Unsecured Claims
Number Steet Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Siy ZiP Code Last 4 digits of account number_

Official Form 106E/F

State

Schedule E/F: Creditors Who Have Unsecured Claims page of

 
 

Debtor 1

ay the Amounts for Each Type of Unsecured Claim

Wnnee

First Name’

Case 18-15891-LMI

Middle Name

if Name

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Case number (if known), / dg -/ SYS/

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured ciaim.

Total claims
from Part 1

Total claims
from Part 2

6a.

6c.

6d.

6e.

6h.

Gi.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

 

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

Gi.

6j.

_ YR
5 N/A

‘ Mya

_ 2

+

 

 

4

ed

 

 

Total claim

i

 

 

 

a

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page __ of

 
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 24 of 46

Fill in this information to identify your case:

Debtor

 

First Name Middle Name

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
(State)

Case number . we
(If known) C) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. bafew have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Q) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

Number Street Aw, / A
f

 

 

City State ZIP Code

 

2.2

 

Name

 

Number Street

 

City State ZIP Code

 

2.3

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code
25

Name

 

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of_

 
 

Case 18-15891-LMI Doc16 Filed 06/01/18 Page 25 of 46

Fill in this information to identify your case:

Debtor 1 Lege ¢
trst Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of

Case number /- 294 / “(Statey

{If known)

 

C) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married

people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

L) No
C) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, |\daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

L) No. Go ta line 3.

L] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time? NJ f)
) No
C) Yes. In which community state or temitory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Cade

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

a

 

() Schedule D, line
Name
OQ) Schedule E/F, line

 

 

 

 

 

 

 

 

 

 

 

 

Number Street QO) Schedule G, line
City State ZIP Code
3.2
QO) Schedule D, line
Name
QO) Schedule E/F, line
Number Street OQ) Schedule G, line
City . State | ZIP Code
3.3
QO) Schedule D, line
Name
O) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page 1of_
 

Case 18-15891-LMI Doc16 Filed 06/01/18 Page 26 of 46

Fill in this information to identify your case:

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

(State)
Case number Check if this is:

(If known)
LJ An amended filing

QA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 my DDT YYW
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

ow Describe Employment

 

 

 

1. Fill in your employment ;
information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about eluitional Employment status mer L) Employed
employers. jot employed C3 Not employed

Include part-time, seasonal, or
self-employed work.
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number Street

 

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

ee Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroil
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ x $

3. Estimate and list monthly overtime pay. 3. +§ QO +3.

4. Calculate gross income. Add line 2 + line 3. 4. $

 

8

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
©

11.

Case 18-15891-LMI

Debtor 1 €

irst Name Middle Name

Copy lime 4 NOP once cece ce ceeseseecsescscsenescsesesaceaeceseatanseaeanenasaeseates > 4.

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List ail other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
Teceipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

Sa.
5b.
5c.
5d.
5e.

5f.

5g.
5h.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the vaiue (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

8g. Pension or retirement income

 

8h. Other monthly income. Specify:

 

Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh.

10. Calculate monthly income. Add line 7 + line 9.

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

8f.

8g.
8h.

9.

10.

State all other regular contributions to the expenses that you list in Schedule J.

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LASFIL
Case number oom -/ S.

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse

$ $
s GD $
spr s
$$. $
$_f $
$s $
$ Lf $
$_ Gf $

+5 OF +5
$ Gr $
sf ss
$s FF 5
s $
a (a
a a
sf 8
5 $
5 $

+s Gf +
s_Y || s
5 $ =f g

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.
Do not include any

      

ounts already included i
iv

t

  

 

n lineg 2-10 or amounts that are

not available to pay expenses listed in Schedule J.

11.% gH000- 00

   
  
 

it in the last column of line 10 to thé amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

CI No.

12.

 

39000 «BD _

 

 

Combined
monthly income

 

i. dont Know

C) Yes. Explain:

 

 

Official Form 106i

Schedule I: Your income

page 2

 

 

 

 
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 28 of 46

Fillin this information to identify your case:

Debtor 1 MM bosicg Dymew~. (70

irst Name Middle Name Last Name Check if this is:

 

Debtor 2 (] An amended filing

(Spouse, if filing) First Name Middle Name Last Name
(J A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: District of z

(State)
Case number If- 18¥9/

(If known)

MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

[Part t: | Describe Your Household

1. Is thjs-a joint case?

No. Go to line 2.
Yes. Does Debtor 2 live in a separate household?

 

 

 

 

 

 

 

 

C) No
OQ) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? Wo
Dependent’s relationship to Dependent’s Does dependent live
' Do not list Debtor 1 and CJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent..............c:ccce
’ C) No
Do not state the dependents Q
names. Yes
C) No
QO) Yes
UC) No
QO) Yes
Q) No
C) Yes
C) No
CI Yes
3. Do your expenses include we

expenses of people other than
yourself and your dependents? C) Yes

ar Estimate Your Ongoing Monthiy Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

 

applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule /: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 3 QO
any rent for the ground or lot. 4. $
If not included in line 4:
4a. Real estate taxes 4a. $ x
4b. Property, homeowner's, or renter’s insurance 4b. $ :
4c. Home maintenance, repair, and upkeep expenses 4c. $ Ov
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1

 
 

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 29 of 46

Debtor 1 Sy

First Name Middle Name Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c, Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c, Other. Specify:

 

17d, Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 106)).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20¢. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J

Schedule J: Your Expenses

Case number (i known), LK: NSIS/

Your expenses

. 8

6a.
6b.
6c.

6d.

15a.

15b.

15c.

15d.

16.

17a.

17b.

17¢.

17d.

18.

20a.
20b.
20c.
20d.

20e.

$ £0.00

s_ 60,00 _
$ 5°00

$ F

$ 175,00

 
 

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Debtor 1 Case number (if known), (X ™~ / §. ¢ j /

irst Name Middle Name Lasf Name

21. Other. Specify: 21. +5 oo

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. va | g / we Ad: O00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ xD

22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ / 6 £0, Or )

 

 

 

23. Calculate your monthly net income. : 0 or O
23a. Copy line 12 (your combined monthly income) from Schedule |. 4 23a. s_000.00_

23b. Copy your monthly expenses from line 22c above. 23b. —$§ / 5 oO \ © O

 

23c. Subtract your monthly expenses from your monthly income. i g O ; OO
The resuit is your monthly net income. 23¢. $

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

UL) No.

 

CL) Yes. Explain here: oot really )ryour yet °

 

Official Form 106J Schedule J: Your Expenses page 3

 
 

Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 31 of 46

Fill in this information to identify your case:

petro § _(VAYRICE a Check if this is:

Debtor 2 UC) An amended filing

(Spouse, if filing) First Name Middle Name
Se CNA supplement showing postpetition chapter 13
United States Bankruptcy Court for the: hl District of expenses as of the following date:

Case number [X= LSS) : (State)

(If known)

 

 

MM TODS YYYY

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 1215

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. i Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

} part 4: | Describe Your Household

1. Do you and Debtor 1 maintain separate households?

 

 

4 No. Do not complete this form.

 

 

 

 

 

 

 

 

C) Yes
2. Do you have dependents? QO) No
Dependent’s relationship to Dependent's Does dependent live
Do not list Debtor 1 but list all CJ Yes. Fill out this information for Debtor 2: age with you?
other dependents of Debtor 2 each dependent......... eee
regardless of whether listed as a QC) No
dependent of Debtor 1 on Oy
Schedule J. O es
Do not state the dependents’ Q No
names. Yes
C3 No
UL) Yes
C2 No
QO) Yes
CY No
QC) Yes
3. Do your expenses include O No

expenses of people other than
yourself, your dependents, and 4 Yes
Debtor 1?

FREE Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

 

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule /: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and v
any rent for the ground or lot. 4. $

If not included in line 4:
4a, Real estate taxes 4a.

$.
4b. Property, homeowner's, or renter’s insurance 4b. $
$

4c. Home maintenance, repair, and upkeep expenses 4c.
4d. Homeowner's association or condominium dues 4d. $ NW A

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 1
Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 32 of 46

Debtor 1

i re Middle Name Nai
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

13.

14.

15.

16.

17.

20.

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage coilection
6c. Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15¢. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule /, Your income (Official Form 106l).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule £ Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Case number (if known),

L6-/5¥F/

Your expenses

6a.

6b.

6c.

6d.

10.

14.

12.

13.

14.

15a.
15b.
18c.

15d.

16.

17a.

17b.

17¢.

17d.

418.

19.

20a.
20b.
20c.
20d.

20e.

 

A FF F# fF FF HF &

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rA Ff HF

 

ff tf

fF

 

 

nF Ff H

|
"

 

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 2

 
 

Debtor 1 Sy Case number (if known), Z Sa G/

21.

22.

Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 33 of 46

First Name Middle Name Last ie

 

Other. Specify: 21. +3 JU /; j

 

Your monthly expenses. Add lines 5 through 21.

 

The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
total expenses for Debtor 1 and Debtor 2. 22. $

 

 

23. Line not used on this form.

24

. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No.

 

QD Yes. Explain here:

 

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

page 3
 

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lS CRAIN CDE NCO N16 ORCC me eee I

Debtor LU eenie
Name Mite Name: Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last

 

 

Case number
(If known)

Name
United States Bankruptcy Court for the: Souder District of Ebates
fr-z SFY (State)

(J Check if this is an

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12445

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can resuit in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a.

Did you pay or agree to pay someone who is NOT an attomey to help you fill out bankruptcy forms?

CI No
C) Yes. Name of person . Attach Bankruptcy Petition Preperer’s Notice, Declaration, and
Signature (Official Form 119).

 

 

Under penalty of perjury, | declare that i have read the summary and schedules filed with this declaration and

 

 

that they are true and correct.
x L x
Signature‘of Debtor 1. Signature of Debtor 2
Date Date
MM // DD YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules page 1
 

Case 18-15891-LMI Doc1i6 Filed 06/01/18 Page 35 of 46

Fill in this information to identify your case:

Debtor 4 LM fuihh
irst Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Sou District of /] «©

(State)

Case number SLY- LBAEW

(if known) CJ Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 125

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

ae Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
O Yarred
ot married
2. a the last 3 years, have you lived anywhere other than where you live now?
No

U) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there ” fived there
CI same as Debtor 1 L] same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
CJ same as Debtor 1 C2 same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
andfernitories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No
Q) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
 

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S vain ole

Last flame

Debtor 1 | Meaueté

First Name

Case number (i known) (P-/587/

Middle Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If yo: are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

No
C) Yes. Fill in the detaiis.

 

SE

Sources of income Gross income Sources of income Gross income

Check all that apply. (before deductions and Check ail that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until QO Wages, commissions, 5 QO Wages, commissions,
bonuses, tips bonuses, tips
the date you filed for bankruptcy:
QO Operating a business S QO Operating a business
For last calendar year: Q Wages, commissions, QO Wages, commissions,
. bonuses, tips $ bonuses, tips $
(January 1 to December 31, ) (2) Operating a business (2 Operating a business
YYYY
For the calendar year before that: C) wages, commissions, C) wages, commissions,
bonuses, tips $ bonuses, tips

(January 1 to December 31, ) (2) Operating a business (2 Operating a business
Yvyy

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royaities; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wo

QO) Yes. Fill in the details.

 

Es a

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

From January 1 of current year until
the date you filed for bankruptcy:

 

 

For last calendar year:

(January 1 to December 31, )
YYYY

 

 

 

For the calendar year before that: $ $

(January 1 to December 31, )
YYYY

 

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Case number (if known) (8-459 VU

,
Fast Name Middle Name Lat Name '

Debtor 1 | Vipv Mee cE Sy mor

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or oes? debts primarily consumer debts?

Do. Neither Debtor 1 ror Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

aro. Go to line 7.

QC) Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

QJ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
C1) No. Go to line 7.

QJ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
Payment

$ $ QC) Mortgage
Q) car
CO credit card

 

Creditors Name

 

Number Street
Q Loan repayment

 

OQ Suppliers or vendors
Q) Other

 

City State ZIP Code

 

$ $ CI Mortgage
Q Car
CO credit card

 

Creditors Name

 

Number Street
CQ) Loan repayment

 

OQ) Suppliers or vendors

Q Other

 

City State ZIP Code

$ $ C) Mortgage
Q Car
CO credit cara

 

 

Creditors Name

 

Number Street
QC) Lean repayment

 

Q Suppliers or vendors
Q Other

 

City State ZIP Code

 

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pebtor 1 | WRWOE Simonet Case number (i known) L Of 9 Y |

First Name

Middle Name LagfName

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any generai partners; relatives of any general partners; partnerships of which you are a genera! partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

such gs child support and alimony.
aA.

C) Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$ $
Insider's Name

 

Number Street

 

 

City

State ZIP Code

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

no

C) Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

Dates of Total amount Amount you stifl Reason for this payment
payment paid owe Include creditor's name
$ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

 

Number Street

 

 

City

Official Form 107

State ZIP Code

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Debtor 1 . Case number (i known) he S af SET

First Name Middle Name Name

Ber tsentity Legal Actions, Repossessions, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.
Q) No
C) Yes. Fill in the details.

 

 

Nature of the case jit oon Wed ts ‘ Za Ape # Ger + Status of the case

Dict drat f elif lawsuit ctw Souler Di Lit vl;
Case title cxkclos “ee ea Tout Name FFA - CY Pending
fi sa one

 

 

Law bv } Yoo mpm Ave a appeal
Number Street Concluded
Case number [Ser-a391S KK Miami El. ZUay
City State ZIP Code

 

 

qe THued uted bow
Case title fy “ae =k goeal oF Elecida O Pending

QO On appeal

+H
- SW 4 Up : Concluded

umber Street

Miami ef. 73/7 (Yh

City TState ZIP Code

 

Case number BOIS - 167A

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

QI No. Go to line 11.
C) Yes. Fill in the information below.

 

 

 

 

 

 

Describe the property Date Value of the property
— .
: | TW Shiy 6 Bidpen fo
, fo67 SFE
Lastgad those Linwik S/é Batt, SW) miming Pook UIs
itor's
0h fiw Jugs enhy
TRo_np [657 frst ?
Number Street Explain what happened
| Property was repossessed.
Property was foreclosed.
73/60 (J Property was garnished.
yin Fe 5/6! Q Property was attached, seized, or levied.

 

Describe the property Date Value of the property

HsBe Laud VSA_ pA whys s

Creditors Name

Koss_stolen, FA:

Number Street

 

 

Explain what happened

/ J 06” N, Fi Sotide ff. VE QO Property was repossessed.
Th Trane 1 27 602 Property was foreclosed.

() Property was garnished.
City State ZIP Code

 

CQ) Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 5
 

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Debtor 1 Case number (i known)_ LE-LSEY

First Name Middle Name Lgst Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
or refuse to make a payment because you owed a debt?
No

C} Yes. Fill in the details.

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
3
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-—__ __

12, Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
cregitors, a court-appointed receiver, a custodian, or another official?

No
OC) Yes

| Parts: IS Certain Gifts and Contributions

years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
Q) Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
- 3
Person ta Whom You Gave the Gift
3
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

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Debtor | Minne Symomede Case number (it known) lf- SSE U

First Name Middle Name / Last Name"

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

wr

CJ Yes. Fill in the details for each gift or contribution.

 

 

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity’s Name
$
Number Street
City State ZIP Code

 

Fle acy List Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

No
CJ Yes. Fill in the details.

Describe the property you lost and how Describe any insurance coverage for the loss Date of yourloss Value of property

the loss occurred oo, . lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

 

ieiewee List Cortain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Includg any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

No
() Yes. Fill in the details.

Description and vaiue of any property transferred Date payment or Amount of payment
transfer was made

 

 

Person Who Was Paid

 

Number Street —_—_ $

 

 

City State ZIP Code

 

Email or website address

 

 

Person! Who Made the Payment, if Not You

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
 

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bebtor . MINCE Svmette Case number (if known), / &-15EF/

First Name Middle Name Hast Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No
CJ Yes. Fill in the details.

Description and vaiue of any property transferred Date payment or Amount of payment
transfer was made

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do include gifts and transfers that you have already listed on this statement.
No
Q Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Debtor | WRU KK. Sym one fe Case number (it known) fe G- A SIU/

First Name Middle Name f last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a seif-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
Q) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

 

Name of trust

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
a houses, pension funds, cooperatives, associations, and other financial institutions.

No
C) Yes. Fill in the details.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution .
XXXX— _ C) checking $
Q Savings

 

Number Street
O Money market

 

O Brokerage
City State ZIP Code () other

 

XXXX= C1 checking $
| Savings

 

Name of Financial Institution

 

Number Street Q Money market
QO Brokerage
QO Other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
segtrities, cash, or other valuables?
no
(QJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
QL) No
Name of Financial Institution Name QO Yes
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 

 
 

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Debtor M th MW Sy Ms Case number (if known), / ¥ -f CSW

First Name Middle Name jame v

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Q No
Q) Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
OI No
Name of Storage Facility Name : OC] Yes
Number Street Number Street

 

CityState ZIP Code

 

 

City State ZIP Code

REE tcontity Property You Hold or Control for Someone Eise

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,

Wee in trust for someone.
No

Q) Yes. Fill in the details.

 

Where is the property? Describe the property Value

 

Owner's Name $

 

Street

 

Number Street

 

 

 

Clty State ZIP Code

 

 

City State ZIP Code

kee ce Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

 

 

 

No
Q Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice
Name of site Governmentai unit
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

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. < °
Debtor 1 V I t e Suguao Case number (if known) l LE G |
First Name Middle Name LastName 7

25. Have you notified any governmental unit of any release of hazardous material?

 

 

 

 

 

 

 

No
OQ) Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice
|
i Name of site Governmental unit
ee ee
City State ZIP Gade
i
i

Clty State ZIP Code

26. Y been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
N

oO
OQ] Yes. Fill in the details.

 

 

Court or agency Nature of the case Status of the
Case title.
Court Name O Pending
Q On appeal
Number Street QO Concluded
Case number City State ZIP Code

atte cv. Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
QO an officer, director, or managing executive of a corporation

An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
Q) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

 

 

 

 

 

 

 

EIN;
Number Street; 0000000. .
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code / /
Describe the nature of the business Employer Identification number

 

Do not include Social Security number or TIN.

 

 

 

 

EIN; - es
Number Street ceeenseece . . wu
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

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Debtor 1 5, 7 ¢ Case number (i known) /§ -/5] 7
First Name

Middle Name st Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

 

Business Name

Name of accountant or bookkeeper Dates business existed

 

Number Street

 

From To

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

No
CI Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can resutt in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

Signature of Debtor 2

  
 

 

Signature of Debtor 1

Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

W No

CQ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
44 No

CL} Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

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